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                     Exhibit C
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Northern District of California
EPIC GAMES, INC. v. APPLE INC.                                                )       Civil Action Nos.           4:20-CV-05640-YGR
CAMERON ET AL v. APPLE INC.                                                   )                                   4:19-CV-03074-YGR
IN RE APPLE IPHONE ANTITRUST LITIGATION                                       )                                   4:11-CV-06714-YGR
                                                                              )
                                                                              )
                                                                              )

                       SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
 To:                                                          Spotify USA Inc.
                                       (c/o CT Corporation System, 28 Liberty St, New York, NY 10005)
                                                       (Name of person to whom this subpoena is directed)

     Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
          See Schedule A


  Place: McDermott Will & Emery LLP                                                     Date and Time:
         340 Madison Avenue                                                             December 22, 2020
         New York, NY 10173-1922

           Or as otherwise agreed.


     Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: December 8, 2020

                                  CLERK OF COURT
                                                                                           OR
                                                                                                   /s/ Michelle Lowery
                                          Signature of Clerk or Deputy Clerk                                          Attorney’s signature
                                                                                                  Michelle Lowery
The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Apple Inc.
                                                                         , who issues or requests this subpoena, are:
Michelle Lowery, 2049 Century Park East, Suite 3200, Los Angeles, CA 90067-3206, mslowery@mwe.com, (310) 551-9309


                                                                                                                                   American LegalNet, Inc.
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




                                                                                                                                   American LegalNet, Inc.
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)


Civil Action Nos. 4:20-CV-05640-YGR, 4:19-CV-03074-YGR, 4:20-CV-05640-YGR

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

          I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                                  on (date)

         I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $

My fees are $                                 My fees are $                                      My fees are $


          I declare under penalty of perjury that this information is true.


Date:                                                         Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                        Server’s address

Additional information regarding attempted service, etc.:




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                     otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who           information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
  (2) Command to Produce Materials or Permit Inspection.                          from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to           (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,          (i) expressly make the claim; and
the following rules apply:                                                            (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party       tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the      subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                                      SCHEDULE A
        Notwithstanding any definition set forth below, each word, term, or phrase used in this

Subpoena is intended to have the broadest meaning permitted under the Federal Rules of Civil

Procedure and the Local Rules of the Northern District of California.

                                         DEFINITIONS

        1.     The following rules of construction shall apply to all discovery requests:

               a. the connectives “and” and “or” shall be construed either disjunctively or

                  conjunctively as necessary to bring within the scope of the discovery request

                  all responses that might otherwise be construed to be outside of its scope;

               b. the use of the present or past tense shall be construed to include both the present

                  and past tenses as necessary to bring within the scope of the discovery request

                  all responses that might otherwise be construed to be outside of its scope;

               c. “any” and “each” shall be construed to include and encompass “all”; and

               d. the use of the singular form of any word includes the plural and vice versa.

        2.     “ADVERTISING” shall mean the in-APP presentation of third-party promotional

content in exchange for payment.

        3.     “AFFILIATE” or “AFFILIATED” shall mean any entity that directly or

indirectly controls YOU, is controlled by YOU or is under common control with YOU.

        4.     “ANCHOR” shall mean YOUR AFFILIATED podcasting platform Anchor FM

Inc.

        5.     “APP” shall mean a software application for a HANDHELD DEVICE or NON-

HANDHELD DEVICE. For the avoidance of doubt, the phrase “YOUR APP” shall mean any

APP developed and/or published by YOU.

        6.     “APP DEVELOPER” shall mean any PERSON who developed one or more

APPS.

        7.     “APP MARKETPLACE” shall mean any online storefront where APPS are

offered for download and/or purchase. This term shall include, without limitation, Google Play,
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the Samsung Galaxy Store, Android Market, DEFENDANT’S iOS and Mac App Stores, the

Amazon Appstore, Amazon Underground, the Microsoft Store for Xbox, the Windows Store, the

Windows Phone Store, the Epic Games Store, Steam, Origin, online storefronts distributing games

and digital content for Xbox, PlayStation, and Nintendo, and websites that offer APPS.

       8.       “COALITION” shall mean the Coalition for App Fairness in which YOU are a

member or founder.

       9.      “COMMUNICATION” shall include, without limitation, any transmission or

transfer of information of any kind, whether orally, electronically, in writing, or in any other
manner, at any time or place, and under any circumstances whatsoever.

       10.     “CONCERNING” a given subject shall mean: directly or indirectly comprising,

concerning, constituting, containing, discussing, embodying, evidencing, exhibiting, identifying,

mentioning, negating, pertaining to, recording, regarding, reflecting, relating to, showing, or

supporting a given subject matter.

       11.     “DEFENDANT” shall mean Apple Inc.

       12.     “DEVICE” shall mean any HANDHELD DEVICE or NON-HANDHELD

DEVICE.

       13.     “DOCUMENT” and “DOCUMENTS” shall have the full meaning ascribed to

those terms under Rule 34 of the Federal Rules of Civil Procedure and shall include, without

limitation, any and all drafts; COMMUNICATIONS; memoranda; records; REPORTS; books;

records, REPORTS, and/or summaries of personal conversations or interviews; diaries;

presentations; slide decks; graphs; charts; spreadsheets; diagrams; tables; photographs; recordings;

tapes; microfilms; minutes; records, REPORTS, and/or summaries of meetings or conferences;

press releases; blog posts; stenographic handwritten or any other notes; work papers; checks, front

and back; check vouchers, check stubs, or receipts; tape data sheets or data processing cards or
discs or any other written, recorded, transcribed, punched, taped, filmed, or graphic matter,

however produced or reproduced; and any paper or writing of whatever description, INCLUDING

information contained in any computer although not yet printed out. Any production of
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electronically stored information shall include the information needed to understand such

information. The term “DOCUMENT” or “DOCUMENTS” further includes all copies where the

copy is not identical to the original.

        14.       “EPIC” shall mean Epic Games, Inc., its officers, directors, employees,

representatives, consultants, agents, servants, attorneys, accountants, or any other person or entity

acting on its behalf, or any PERSON or entity that served in any such role at any time, as well as

its predecessors, successors, subsidiaries, departments, divisions, joint ventures, and/or affiliates,

(including but not limited to Epic Games International S.à r.l and Life on Air, Inc.), and any
PERSON that Epic Games, Inc., manages or controls.

        15.       “EXTERNAL PRODUCTS” shall mean digital products and services purchased

outside of an APP (such as through an APP DEVELOPER’s website) that one may use within an

APP.

        16.       “HANDHELD DEVICE” shall mean any smartphone, tablet, or portable MP3

music player.

        17.       “INCLUDING” shall not be construed as limiting any request, and shall mean the

same as “including, but not limited to.”

        18.       “IN-APP PRODUCT” shall mean any feature, service, or functionality that can be

enabled or unlocked within an APP in exchange for a fee, INCLUDING subscriptions, access to

premium content, unlocking a full version of an APP, or paying to eliminate advertisements within

an application.

        19.       “MALWARE” shall mean APPS and other software that could put users, user

data, or devices at risk, INCLUDING computer viruses, worms, trojans, ransomware, scareware,

spyware, phishing apps, backdoors, hostile downloaders, mobile billing fraud apps (including

SMS fraud, call fraud, and toll fraud), and click fraud apps.
        20.       “NAMED CONSUMER PLAINTIFF” shall mean a named plaintiff in Pepper v.

Apple Inc., Case No. 4:11-cv-06714-YGR (N.D. Cal.), and Lawrence v. Apple Inc., Case No. 4:19-

cv-02852-YGR (N.D. Cal.), INCLUDING:
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               a. Edward W. Hayter, of Brooklyn, NY;

               b. Edward Lawrence, of California;

               c. Robert Pepper, of Chicago, IL; and

               d. Stephen H. Schwartz, of Ardsley, NY.

       21.     “NAMED DEVELOPER PLAINTIFF” shall mean a named plaintiff in Cameron

v. Apple Inc., Case No. 419-cv-03074-YGR (N.D. Cal.), and Sermons v. Apple Inc., Case No. 4:19-

cv-03796-YGR (N.D. Cal.), INCLUDING:

               a. Donald R. Cameron, of California;
               b. Barry Sermons, of Georgia; and

               c. Pure Sweat Basketball, Inc., an Illinois corporation.

       22.     “NON-HANDHELD DEVICE” shall mean laptop computers, desktop computers,

or video game consoles.

       23.     “PERSON” shall include, without limitation, natural persons, corporations,

partnerships, business trusts, associations, and business or other entities, and any officer, director,

employee, partner, corporate parent, subsidiary, affiliate, agent, representative, attorney, or

principal thereof.

       24.     “REPORTS” shall mean any final reports, research, papers, memoranda,

presentations, reviews, statistical compilations, or other analyses.

       25.     “SOUNDBETTER” shall mean YOUR AFFILIATED platform for connecting

music services providers and customers, SoundBetter, Inc.

       26.     “THE” shall not be construed as limiting the scope of any topic.

       27.     “YOU” or “YOUR” shall refer to Spotify USA Inc. or any of its predecessor or

successor companies, subsidiaries, corporate affiliates, officers, directors, employees,

representatives, consultants, agents, servants, attorneys, accountants, and any other PERSON or
entity acting on its behalf, or any PERSON or entity that served in any such role at any time.

                                         INSTRUCTIONS

       1.      All DOCUMENTS requested herein must be produced in their entirety, with all
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attachments and enclosures, regardless of whether YOU consider the attachments and enclosures

to be relevant or responsive to the Request.

          2.    In responding to these Requests, YOU shall produce all DOCUMENTS and

information in YOUR possession, custody, or control, and all DOCUMENTS reasonably available

to YOU, INCLUDING those in the possession, custody, or control of YOUR present and former

attorneys, investigators, accountants, agents, representatives, or other PERSONS acting on YOUR

behalf.

          3.    These Requests shall not be deemed to call for identical copies of DOCUMENTS.
“Identical” means precisely the same in all respects; for example, a DOCUMENT with

handwritten notes or editing marks shall not be deemed identical to one without such notes or

marks.

          4.    In the event YOU are able to produce only some of the DOCUMENTS called for

in a particular Request, YOU shall produce all the DOCUMENTS available and state the reason(s)

for YOUR inability to produce the remainder.

          5.    If there are no DOCUMENTS responsive to a category in these Requests, YOU

shall so state in writing. If a DOCUMENT requested is no longer existing or available, YOU shall

so state in writing.

          6.    If YOU object to a portion of any Request, YOU shall produce all DOCUMENTS

called for by that portion of the Request to which YOU do not object.

          7.    In producing DOCUMENTS responsive to these requests, YOU must Bates stamp

them in a manner that clearly identifies the party that is producing each such DOCUMENT, and

in whose possession the DOCUMENT was found.

          8.    If any requested DOCUMENT is withheld on the basis of any claim of privilege,

YOU must set forth the information necessary for DEFENDANT to ascertain whether the privilege
properly applies, INCLUDING describing the DOCUMENT withheld, stating the privilege being

relied upon, identifying all PERSONS (by name) who have had access to such DOCUMENT

(INCLUDING all the identity(ies) of the author(s) or maker(s), recipient(s), carbon copy
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recipient(s), blind carbon copy recipient(s)), the number of attachments (if any), the Bates or

production number of any attachments not withheld on the basis of privilege, the applicable

date(s), and the subject matter(s) in a privilege log.

       9.      If any portion of any DOCUMENT responsive to these Requests is withheld under

claim of privilege, all non-privileged portions must be produced with the portion(s) claimed to be

privileged redacted and logged in a privilege log pursuant to the preceding instructions.

       10.     If YOU cannot answer all parts of a Request, but can answer some parts, YOU must

answer those parts to which YOU can reply, and specify “unknown,” or some other response, as
appropriate, for any part to which YOU cannot reply.

       11.     Unless otherwise stated, the time period for which the Requests seek

DOCUMENTS is 2010 to the present.

       12.     References to any natural PERSON shall include, in addition to the natural

PERSON, any agent, employee, representative, attorney, superior, or principal thereof.

       13.     Specified date ranges are inclusive. Unless otherwise stated, a year includes all days

of that year from January 1 to December 31.

       14.     These Requests are to be regarded as continuing pursuant to Rule 26(e) of the

Federal Rules of Civil Procedure. YOU are required to provide, by way of supplementary

responses hereto, such additional information as may be obtained by YOU or any PERSON acting

on YOUR behalf that will augment or modify YOUR answers initially given to the following

Requests. Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, YOU are required to

supplement these responses and provide additional DOCUMENTS without a specific request from

DEFENDANT.

       15.     DEFENDANT serves these Requests without prejudice to its right to serve

additional requests for production of DOCUMENTS.




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                              REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

       DOCUMENTS sufficient to show the name of each APP, that YOU have published in any

APP MARKETPLACE and for each such APP:

       a.     the dates during which the APP was available for download by U.S. consumers

from each APP MARKETPLACE;

       b.     for each year that the APP was available, the number of times that the APP was

downloaded by U.S. consumers from each APP MARKETPLACE;

       c.     for each APP MARKETPLACE, the method(s) used (if any) to monetize the APP,

INCLUDING, but not limited to, whether the APP charges for APP downloads, sells IN-APP

PRODUCTS, permits use of EXTERNAL PRODUCTS, features ADVERTISING, whether the

APP is available as a subscription, or uses any other method(s) or some combination of the above;

       d.     YOUR decision to monetize the APP, INCLUDING why YOU chose the

monetization strategy YOU did, and whether that strategy changed over time;

       e.     the amount charged for APP downloads, subscriptions and IN-APP PRODUCTS,

by APP MARKETPLACE;

       f.     YOUR annual revenues from APP downloads, subscriptions, and IN-APP

PRODUCTS attributable to such distribution (by APP and by type of monetization, if available);

and

       g.     the number of minutes of usage of such APP.

REQUEST FOR PRODUCTION NO. 2:

       DOCUMENTS sufficient to show, with respect to any APP MARKETPLACE:

       a.     the total yearly amount remitted to YOU by each APP MARKETPLACE from sales

of APPS, subscriptions, and IN-APP PRODUCTS (by APP and method of monetization, if

available);




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       b.         any estimates of or accounting for annual ADVERTISING revenue attributable to

each APP MARKETPLACE (by APP, if available);

       c.         any estimates of or accounting for YOUR annual revenues from sales of

EXTERNAL PRODUCTS attributable to each APP MARKETPLACE (by APP and method of

monetization, if available);

       d.         any estimates of or accounting for annual revenues (other than the foregoing)

attributable to each APP MARKETPLACE (by APP and method of monetization, if available);

       e.         any estimates of or accounting for annual earnings, income, or profit (whether gross
or net) attributable to each APP MARKETPLACE (by APP and method of monetization, if

available); and

       f.         any comparisons of monetization rates across each APP MARKETPLACE for

YOUR APPS distributed through each APP MARKETPLACE.

REQUEST FOR PRODUCTION NO. 3:

       DOCUMENTS sufficient to show the name of each APP (if any) that YOU have made

available for direct distribution (i.e., not through an APP MARKETPLACE) to HANDHELD

DEVICE users, and for each such APP:

       a.         the dates during which the APP was available for direct download to such U.S.

consumers;

       b.         for each year that the APP was available, the number of times that the APP was

downloaded by U.S. consumers;

       c.         the method(s) used (if any) to monetize the APP, INCLUDING, but not limited to,

whether the APP charges for APP downloads, sells IN-APP PRODUCTS, permits use of

EXTERNAL PRODUCTS, features ADVERTISING, whether the APP is available as a

subscription, or uses any other method(s) or some combination of the above;

       d.         YOUR decision to monetize the APP, INCLUDING why YOU chose the revenue

model YOU did, and whether that strategy changed over time;

       e.         the amount charged for APP downloads and IN-APP PRODUCTS;
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       f.      the percentage of the subscription costs paid to YOU that YOU retain for yourself

versus pass through to the websites that you partner with; and

       g.      YOUR annual revenues from APP downloads, subscriptions and IN-APP

PRODUCTS attributable to such distribution (by APP and by type of monetization, if available).

REQUEST FOR PRODUCTION NO. 4:

       DOCUMENTS sufficient to show the name of each APP (if any) that YOU have made

available for direct distribution (i.e., not through an APP MARKETPLACE) to NON-

HANDHELD DEVICE users, and for each such APP:

       a.      the dates during which the APP was available for direct download to such U.S.

consumers;

       b.      for each year that the APP was available, the number of times that the APP was

downloaded by U.S. consumers;

       c.      the method(s) used (if any) to monetize the APP, INCLUDING, but not limited to,

whether the APP charges for APP downloads, sells IN-APP PRODUCTS, permits use of

EXTERNAL PRODUCTS, features ADVERTISING, whether the APP is available as a

subscription, or uses any other method(s) or some combination of the above;

       d.      YOUR decision to monetize the APP, INCLUDING why YOU chose the revenue

model YOU did, and whether that strategy changed over time;

       e.      the amount charged for APP downloads and IN-APP PRODUCTS;

       f.      the percentage of the subscription costs paid to YOU that YOU retain for yourself

versus pass through to the websites that you partner with; and

       g.      YOUR annual revenues from APP downloads, subscriptions, and IN-APP

PRODUCTS attributable to such distribution (by APP and by type of monetization, if available).

REQUEST FOR PRODUCTION NO. 5:

       REPORTS comparing the distribution of YOUR APPS through different APP

MARKETPLACES INCLUDING:

       a.      the past or present benefits or costs of distribution in each APP MARKETPLACE;
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      b.      past or present fees and commission rates charged by each APP MARKETPLACE,

INCLUDING how such fees and commission rates affect the attractiveness of the APP

MARKETPLACE to YOU;

      c.      past or present security or privacy protections offered in each APP

MARKETPLACE;

      d.      past or present APP REVIEW and approval procedures and practices in each APP

MARKETPLACE;

      e.      past or present tools for APP DEVELOPERS in each APP MARKETPLACE;
      f.      past or present relative ease or difficulty of updating YOUR APPS in each APP

MARKETPLACE;

      g.      past or present decision to distribute YOUR APPS on a particular APP

MARKETPLACE;

      h.      contemplated, planned, or actual distribution of YOUR APPS directly (i.e., not

through an APP MARKETPLACE) to DEVICE users; and

      i.      past or present APP maintenance activities in each APP MARKETPLACE.

REQUEST FOR PRODUCTION NO. 6:

      REPORTS concerning competition for each of YOUR APPS, INCLUDING:

      a.      who YOU consider to be YOUR competitors for each of YOUR APPS;

      b.      whether YOU offer the products or services available in YOUR APPS to NON-

HANDHELD DEVICE users; and

      c.      comparisons of YOUR APPS to other competing products.

REQUEST FOR PRODUCTION NO. 7:

      DOCUMENTS sufficient to show YOUR processes and protocols related to security, user

data protection and protection against MALWARE, INCLUDING:

           a. amount of time allocated as part of the development of YOUR APPS to security,

              user data protection and protection against MALWARE;


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         b. costs YOU incur related to your efforts to make YOUR APPS secure, protect user

             data and protect users from MALWARE;

         c. controls you have in place in relation to each of YOUR APPS that protect user data

             and protect user from MALWARE; and

         d. frequency of and results from third party security review.

REQUEST FOR PRODUCTION NO. 8:

      REPORTS AND DOCUMENTS related to the existence of MALWARE in connection

with any of YOUR APPS, INCLUDING, in relation to each MALWARE incident:

         a. description of the MALWARE and how it was used to attack the user’s DEVICE,

             INCLUDING whether the MALWARE resulted in ransomware being installed on

             the user’s DEVICE;

         b. the number of users impacted and any financial loss incurred by the users and by

             YOU;

         c. breakdown of the DEVICES the users were using at the time the MALWARE was

             used to attack their DEVICE;

         d. any change in user DEVICE preference as a result of a MALWARE incident;

         e. breakdown of which APP MARKETPLACE(S) the users downloaded the APP

             from that was affected by the MALWARE;

         f. details of how YOU became aware of the incident, how long the MALWARE was

             active, and what actions you took to stop the incident; and

         g. security updates and measures you took to prevent future MALWARE incidents.

REQUEST FOR PRODUCTION NO. 9:

    DOCUMENTS, INCLUDING COMMUNICATIONS, CONCERNING any                          security   or

privacy concerns or incidents YOU had in relation to any APP MARKETPLACE or DEVICE.




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REQUEST FOR PRODUCTION NO. 10:

       DOCUMENTS, INCLUDING COMMUNICATIONS CONCERNING the COALITION

INCLUDING its formation, documents of incorporation, bylaws, purpose, objectives, activities,

sponsorship, founders, meeting minutes, membership, and fees.

REQUEST FOR PRODUCTION NO. 11:

       DOCUMENTS CONCERNING COMMUNICATIONS with any actual or proposed

founder or member of the COALITION, INCLUDING Basecamp, Blix Inc., Blockchain.com,

Deezer, Epic Games Inc., European Publishers Council, Match Group Inc., News Media Europe,

Prepear Inc., ProtonMail, SkyDemon, and            Tile, CONCERNING the COALITION,

DEFENDANT, any APP MARKETPLACE, YOUR APP(s), and/or any allegations or suspicion

of any anti-competitive conduct or behavior.
REQUEST FOR PRODUCTION NO. 12:

       ALL COMMUNICATIONS or DOCUMENTS CONCERNING YOUR website

timetoplayfair.com INCLUDING its formation, documents of incorporation, bylaws, purpose,

objectives, activities, sponsorship, founders, meeting minutes, membership, fees, timeline of

events YOU published on timetoplayfair.org, and any allegations YOU published on

timetoplayfair.org of anti-competitive conduct or behavior.

REQUEST FOR PRODUCTION NO. 13:

       For each of YOUR APPS, DOCUMENTS sufficient to show the extent to which:

       a. IN-APP PRODUCTS or EXTERNAL PRODUCTS purchased on one DEVICE can be

applied to the same APP on another DEVICE;

       b. IN-APP PRODUCTS or EXTERNAL PRODUCTS purchased outside of a DEVICE can

be applied to YOUR APPS; and

       c. consumers use the APP on multiple DEVICES.

REQUEST FOR PRODUCTION NO. 14:

       For each of YOUR APPS, DOCUMENTS sufficient to show the prices of IN-APP

PRODUCTS or EXTERNAL PRODUCTS, whether those prices vary based on DEVICE or where
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purchased, and whether APP users respond to discounts on IN-APP PRODUCTS or EXTERNAL

PRODUCTS.

REQUEST FOR PRODUCTION NO. 15:

       DOCUMENTS CONCERNING YOUR decision to sell YOUR APPS, INCLUDING

subscriptions, at a discounted or different price on YOUR website than through IN-APP purchases.

REQUEST FOR PRODUCTION NO. 16:

       REPORTS CONCERNING the habits of YOUR APP users, INCLUDING whether users

of YOUR APPS own multiple DEVICES and whether they use YOUR APPS on multiple

DEVICES.
REQUEST FOR PRODUCTION NO. 17:

       DOCUMENTS         CONCERNING         YOUR     negotiations   with   operators   of   APP

MARKETPLACES, INCLUDING YOUR negotiations CONCERNING commission rates.

REQUEST FOR PRODUCTION NO. 18:

       DOCUMENTS sufficient to show YOUR efforts to increase the ability of consumers in

the United States to find and download YOUR APPS in any APP MARKETPLACE.

REQUEST FOR PRODUCTION NO. 19:

       DOCUMENTS sufficient to show YOUR agreements or contracts with any APP

MARKETPLACE or DEVICE manufacturer, INCLUDING any guidelines or rules setting forth

the terms and conditions under which YOU may distribute YOUR APPS through any APP

MARKETPLACE(S) or to DEVICE users.

REQUEST FOR PRODUCTION NO. 20:

       DOCUMENTS sufficient to show any marketing, services, assistance, or support provided

to YOU by any APP MARKETPLACE or DEVICE manufacturer, INCLUDING APP

development tools, application programming interfaces (“APIs”), programming tools, technical

support, opportunities for testing APPS before they are released to the consumers, marketing,

payment processing, refund processing, and security measures.

REQUEST FOR PRODUCTION NO. 21:
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       DOCUMENTS sufficient to show YOUR marketing strategies for growing YOUR user

and subscriber base and how each strategy contributed to the growth of YOUR user and

subscriber base.

REQUEST FOR PRODUCTION NO. 22:

       DOCUMENTS describing the organizational structure of, and/or listing personnel working

within, any division or unit of YOUR business that is responsible for YOUR APPS.

REQUEST FOR PRODUCTION NO. 23:

       DOCUMENTS sufficient to show what user information and data YOU collect and how

YOU collect the user information and data.
REQUEST FOR PRODUCTION NO. 24:

       DOCUMENTS sufficient to show how YOU use user information and data, INCLUDING

all third parties with whom you share user information and data with, INCLUDING REPORTS

reflecting when and how you have shared user information and data with third parties.

REQUEST FOR PRODUCTION NO. 25:

       DOCUMENTS relating to YOUR privacy practices and concerns about user privacy,

INCLUDING any customer COMMUNICATIONS raising questions or concerns about how

YOU use and/or share customer information and data.

REQUEST FOR PRODUCTION NO. 26:

       DOCUMENTS sufficient to show any policies, restrictions, or rules, INCLUDING any

commissions and/or transaction fees, imposed on users of YOUR AFFILIATED platform(s)

INCLUDING ANCHOR and SOUNDBETTER.

REQUEST FOR PRODUCTION NO. 27:

       DOCUMENTS sufficient to show the features, functionality, or processes YOU use to

impose any policies, restrictions, or collect any commissions and/or transaction fees charged by

YOUR AFFILIATED platform(s) INCLUDING ANCHOR and SOUNDBETTER.




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REQUEST FOR PRODUCTION NO. 28:

       REPORTS CONCERNING YOUR decision to charge any commissions and/or transaction

fees in connection with YOUR AFFILIATED platform(s) INCLUDING ANCHOR and

SOUNDBETTER, including determining the amount of such commissions and/or transaction fees

to charge.

REQUEST FOR PRODUCTION NO. 29:

       DOCUMENTS sufficient to show any costs YOU incurred to process payments for

purchases of services in YOUR AFFILIATED platform(s) INCLUDING ANCHOR and

SOUNDBETTER.
REQUEST FOR PRODUCTION NO. 30:

       ALL DOCUMENTS or COMMUNICATIONS CONCERNING Paragraph 1.A

(Freelancing    Transactions)   of   SOUNDBETTER’s          Terms     of   Use,    available    at

https://soundbetter.com/terms-of-use, INCLUDING the purpose, rationale, and enforcement of the

contents of Paragraph 1.A.

REQUEST FOR PRODUCTION NO. 31:

       ALL COMMUNICATIONS between YOU and any NAMED CONSUMER PLAINTIFF

or NAMED DEVELOPER PLAINTIFF.

REQUEST FOR PRODUCTION NO. 32:

       ALL COMMUNICATIONS between YOU and any APP DEVELOPER, INCLUDING

EPIC, or any member of the COALITION, CONCERNING:

       a.      the DEFENDANT’S iOS App Store, INCLUDING any guidelines, policies, and

procedures for the DEFENDANT’S iOS App Store;

       b.      policies, practices, and/or procedures for handling and processing payments for the

sale of IN-APP PRODUCTS;

       c.      the following ongoing litigation, INCLUDING declarations, anticipated oral

testimony, or documentary evidence relating to the same:

               i.     Pepper v. Apple Inc., Case No. 4:11-cv-06714-YGR (N.D. Cal.);
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              ii.    Lawrence v. Apple Inc., Case No. 4:19-cv-02852-YGR (N.D. Cal.);

              iii.   Cameron v. Apple Inc., Case No. 419-cv-03074-YGR (N.D. Cal.);

              iv.    Sermons v. Apple Inc., Case No. 4:19-cv-03796-YGR (N.D. Cal.); and

              v.     Epic Games, Inc. v. Apple Inc., Case No. 4:20-cv-05640-YGR (N.D. Cal.).

REQUEST FOR PRODUCTION NO. 33:

       ALL COMMUNICATIONS or DOCUMENTS exchanged between YOU and any federal,

state, or local governmental entity, either foreign or domestic, INCLUDING any U.S. or state

agency, attorney general’s office, or congressional committee, CONCERNING any APP

MARKETPLACE(S), the DEFENDANT, or YOUR privacy practices and user data.
REQUEST FOR PRODUCTION NO. 34:

       ALL DOCUMENTS provided to EPIC in relation to any of the following litigations:

              i.     Pepper v. Apple Inc., Case No. 4:11-cv-06714-YGR (N.D. Cal.);

              ii.    Lawrence v. Apple Inc., Case No. 4:19-cv-02852-YGR (N.D. Cal.);

              iii.   Cameron v. Apple Inc., Case No. 419-cv-03074-YGR (N.D. Cal.);

              iv.    Sermons v. Apple Inc., Case No. 4:19-cv-03796-YGR (N.D. Cal.); and

              v.     Epic Games, Inc. v. Apple Inc., Case No. 4:20-cv-05640-YGR (N.D. Cal.).




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